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 5 Attorneys for:
   Jose Gilberto Lopez
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 9                                   IN THE UNITED STATES DISTRICT COURT

10                                     EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                             CASE NO. 12-370 MCE

13                                    Plaintiff,           STIPULATION AND ORDER RESETTING J&S
                                                           TO 1/9/14
14                            v.

15   JOSE GILBERTO LOPEZ,
                                      Defendant.
16
17                                                 STIPULATION

18                    It is hereby stipulated by and between Assistant United States Attorney OLUSERE

19          OLOWOYEYE, Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for Defendant

20          JOSE GILBERTO LOPEZ, that the current date scheduled for December 19, 2013, be vacated

21          and the matter be continued to this Court’s criminal calendar on January 9, 2014, at 9:00 a.m. for

22          judgment and sentencing.

23                    Counsel for the Defendant is currently unavailable due to a state court jury trial. The

24          Probation department and the court staff interpreter will be notified of the new date.

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      Stip. & Order Continuing J&S                         1
              Case 2:12-cr-00370-GEB Document 67 Filed 12/20/13 Page 2 of 2


 1          IT IS SO STIPULATED.

 2
 3 Dated: December 17, 2013                       BENJAMIN B. WAGNER
                                                  United States Attorney
 4

 5                                                /s/ Olusere Olowoyeye
                                                  OLUSERE OLOWOYEYE
 6                                                Assistant United States Attorney

 7
     Dated: December 17, 2013                     /s/ Dina L. Santos
 8                                                DINA SANTOS, ESQ.
                                                  Attorney for Jose Gilberto Lopez
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16                                         ORDER

17          IT IS SO ORDERED.

18 Dated: December 18, 2013

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      Stip. & Order Continuing J&S            2
